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Executive Grant of Clemency

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

WHEREAS ROGER JASON STONE, JR. was convicted, in the United States
District Court for the District of Columbia on an indictment (Docket No. 1:19-cr-00018-
ABJ-1), of violations of Sections 2, 1001(a)(2), 1505, and 1512(b)(1), Title 18, United
States Code, for which a total sentence of 40 months’ imprisonment; two years’
supervised release; a twenty thousand dollar ($20,000) fine; and a seven hundred dollar
($700) special assessment was imposed on February 20, 2020; and

WHEREAS the said ROGER JASON STONE, JR. is presently confined to his
home and under the supervision of the Pretrial Services Office; and

WHEREAS it has been made to appear that the ends of justice do not require the
said ROGER JASON STONE, JR. to remain confined to his home or serve the said
sentence, and the safety of the community will not be compromised if he is released from
home confinement and clemency is granted:

NOW, THEREFORE, BE IT KNOWN that I, DONALD J. TRUMP, President
of the United States of America, in consideration of the premises, divers other good and
sufficient reasons me thereunto moving, do hereby grant clemency to the said ROGER
JASON STONE, JR.: [ commute the entirety of the prison sentence imposed upon the
said ROGER JASON STONE, JR. to expire immediately; I also commute the entirety
of the two-year term of supervised release with all its conditions; and finally, I remit any
unpaid remainder of the $20,000 fine imposed.

I HEREBY DESIGNATE, direct, and empower, the Acting Pardon Attorney, as
my representative, to deliver to the United States District Court for the District of
Columbia and to the said ROGER JASON STONE, JR. a certified copy of this

document as evidence of my action in order to carry into effect the terms of this grant.
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1 ALSO DIRECT the Pretrial Services Office, upon receipt of this warrant, to
effect immediately the release of the said ROGER JASON STONE, JR., from
supervision, and all conditions imposed, including home confinement, with all possible
speed.

IN TESTIMONY WHEREOF | have hereunto signed my name and caused the

seal of the Department of Justice to be affixed.

Done at the City of Washington in the
District of Columbia this \@ day of
in the Year of Our Lord Two
Thousand and Twenty and of the
Independence of the United States the
Tw@ Hundred and Forty-fifth.

   

   
   

DONALD J. TRUMP
President

 
